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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF IOWA

                                          )
UNITED STATES OF AMERICA,                 )   Criminal No. 4:19-CR-172
                                          )
                     v.                   )   PROTECTIVE ORDER
                                          )   ALLOWING INSPECTION OF
RUBY KATHERINE MONTOYA,                   )   DISCOVERY
                                          )
                     Defendant.           )
                                          )

      The Court having received the Parties Joint Motion for Protective Order and

Protective Order Allowing Inspection of Discovery, and good cause appearing, it is

hereby ORDERED that the Parties motion is GRANTED. Accordingly, it is

ORDERED that the Government may provide for the inspection of material by

defense counsel at the U.S. Attorney’s Office in Austin, Texas, requiring that any and

all copies of discovery remain at all times in the custody of the government; that

defense counsel will not copy, photograph, or otherwise reproduce said discovery

material in any way; that defense counsel will not disclose the existence of said

material to anyone other than her client without permission from the court; and that

any reference to said material be made under seal. It is FURTHER ORDERED that

any such materials shall be used solely for the purposes of preparing the above-

entitled criminal case, and for no other purpose.



   3/9/2022
__________________                            ___________________________________
Date                                          HELEN C. ADAMS
                                              U.S. MAGISTRATE JUDGE
